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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                    Case No.: 18cv0428 DMS (AHG)
12                          Petitioners-Plaintiffs,
                                                          ORDER CLARIFYING MAY 27, 2025
13     v.                                                 ORDER
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
15
                         Respondents-Defendants.
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17           The Government requested clarification of two issues in the Court’s order dated
18    yesterday, May 27, 2025 (ECF No. 784). In response to the Government’s request, the
19    Court clarifies that the parties’ responsive briefs are due on or before 4:30 pm PST on
20    May 30, 2025. The Court also clarifies that the notice requirement set out in the Court’s
21    May 16, 2025 Order (ECF No. 776) is extended to June 4, 2025.
22           IT IS SO ORDERED.
23    Dated: May 28, 2025
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                                                                                  18cv0428 DMS (AHG)
